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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


BETTY JEAN GARDNER, as the                )
personal representative of the estate     )
of Nathaniel Blake Dorough,               )
                                          )
      Plaintiff,                          )
                                              Civil Action Number
                                          )
vs.                                       )   2:18-cv-01336-AKK
                                          )
JOHN SAMANIEGO and EVAN                   )
McKEE JAMISON,                            )
      Defendants.                         )


                   MEMORANDUM OPINION AND ORDER
      This action arises out of the tragic death of Betty Jean Gardner’s nephew,

Nathaniel Blake Dorough. Dorough suffered from severe mental illness, and died

after Deputy Evan McKee Jamison shot him in the home Dorough shared with his

father. Gardner asserts claims against Jamison in his individual capacity under 42

U.S.C. § 1983. Doc. 20 at 4-5. She also asserts claims against John Samaniego,

the Sheriff of Shelby County, in his official capacity, under § 1983, Title II of the

Americans with Disabilities Act, 42 U.S.C. § 12131 et seq. (“ADA”), and Section

504 of the Rehabilitation Act of 1973, 29 U.S.C. § 701 et seq. (“§ 504”), based on

her contention that the Sheriff failed to properly train deputies to respond to calls

involving people with mental illnesses. See docs. 1; 20 at 4-5. The Sheriff has
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moved to dismiss the claims against him, doc. 5,1 arguing that he is immune from

suit and that Gardner failed to state a claim for which relief can be granted. For the

reasons discussed below, the motion is due to be granted.

I.     STANDARD OF REVIEW

       Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.”

“[T]he pleading standard Rule 8 announces does not require ‘detailed factual

allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).                       Mere “‘labels and

conclusions’” or “‘a formulaic recitation of the elements of a cause of action’” are

insufficient.    Id. at 678 (quoting Twombly, 550 U.S. at 555).                 “Nor does a

complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Id. (quoting Twombly, 550 U.S. at 557).

       Federal Rule of Civil Procedure 12(b)(6) permits dismissal when a

complaint fails to state a claim upon which relief can be granted. When evaluating


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         Since responding to the motion to dismiss, doc. 9, Gardner has amended her complaint
twice in order to correctly identify Jamison, docs. 10 and 17. Because the only substantive
difference between the original complaint and the amended complaints is that the later
complaints identify a named individual for an unnamed defendant, and the allegations against the
Sheriff remain the same, see docs. 1, 12, 20, the arguments raised in the Sheriff’s motion to
dismiss apply equally to the amended complaints. Accordingly, when granting Gardner’s motion
to amend, the court (Chief Magistrate Judge John Ott) advised Gardner that it would still
consider the arguments raised in the Sheriff’s pending motion to dismiss. See doc. 11.
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a motion brought under Rule 12(b)(6), the court accepts “the allegations in the

complaint as true and construe[s] them in the light most favorable to the plaintiff.”

Hunt v. Aimco Props., L.P., 814 F.3d 1213, 1221 (11th Cir. 2016). However, “[t]o

survive a motion to dismiss, a complaint must . . . ‘state a claim to relief that is

plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570).

A complaint states a facially plausible claim for relief “when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. In other words, the complaint

must establish “more than a sheer possibility that a defendant has acted

unlawfully.” Id.; see also Twombly, 550 U.S. at 555 (explaining that “[f]actual

allegations [included in the complaint] must be enough to raise a right to relief

above the speculative level.”).

II.   FACTUAL BACKGROUND

      Dorough, who suffered from schizophrenia and other psychiatric diagnoses,

lived with his father. Doc. 20 at 2. This tragic incident occurred when Dorough

had a mental health crisis at his home, and his father called 911. Id. Jamison and

another deputy were dispatched to the home, where Dorough’s father waited

outside.   Id.   Upon arrival, the deputies learned from Dorough’s father that

Dorough had a mental disability, was experiencing a mental health crisis, and had

not committed any crimes. Id. at 3. Even so, Jamison entered the home without


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consent and before formulating a plan for approaching Dorough. Id. Once in the

home, Jamison saw Dorough “crouched in a corner holding a short stick with small

nails hammered into it, and shot [and killed] him without justification when

Dorough refused to drop the stick.” Id. Gardner asserts that Deputy Jamison

would not have killed her nephew if the Sheriff had properly trained the deputies

on how to handle mentally ill individuals. Id. at 4.

III.   ANALYSIS

       Gardner asserts a § 1983 claim against the Sheriff in his official capacity for

unlawful entry and claims under the ADA and § 504 based on a failure to

accommodate theory. Doc. 20 at 5-7. The Sheriff has moved to dismiss based on

immunity under the Eleventh Amendment, and on the failure to state a claim upon

which relief may be granted. The court addresses these contentions in turn.

       A.    Whether the Sheriff is Immune from Suit
       The Sheriff argues that Gardner’s claims against him in his official capacity

are barred by the Eleventh Amendment. See doc. 5 at 12-13. Under the Eleventh

Amendment, a state is immune from suit in federal court unless the state waives its

immunity or a superseding federal act abrogates the state’s immunity. U.S. Const.

amend. XI; Kimel v. Florida Bd. of Regents, 528 U.S. 62, 73 (2000). A state’s

sovereign immunity applies to suits brought against a state official in his official

capacity “when ‘the state is the real, substantial party in interest.’” Carr v. City of


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Florence, Ala., 916 F.2d 1521, 1524 (11th Cir. 1990) (quoting Pennhurst State

School & Hospital v. Halderman, 465 U.S. 89, 120 (1984)). Moreover, “a sheriff

is an executive officer of the state of Alabama” and is protected by the Eleventh

Amendment when, as here, he is sued for damages in his or her official capacity

under § 1983. Id. at 1525. Therefore, becuase Alabama has not consented to suit

and “Congress has not abrogated eleventh amendment immunity in section 1983

cases,” id. (citations omitted), the Eleventh Amendment bars Gardner’s § 1983

claim against the Sheriff.2

       A different analysis applies, however, to Gardner’s ADA and § 504 claims.

Title II of the ADA “provides that ‘a State shall not be immune under the eleventh

amendment to the Constitution of the United States from an action in a Federal or

State court of competent jurisdiction for a violation of this chapter.’” United States

v. Georgia, 546 U.S. 151, 154 (2006) (quoting 42 U.S.C. § 12202) (alteration

omitted). Moreover, “insofar as Title II creates a private cause of action for

damages against the States for conduct that actually violates the Fourteenth

Amendment, Title II validly abrogates state sovereign immunity.” Id. at 159. In

this case, Gardner asserts a Title II claim based on her allegations that the Sheriff

violated the ADA by failing to train deputies to respond to people with mental


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         The § 1983 claim against the Sheriff is also due to be dismissed because “state officials
acting in their official capacities are not ‘persons’ subject to liability under 42 U.S.C. § 1983.
Carr, 916 F.2d at 1525 n.3 (citing Will v. Michigan Dep’t of State Police, 491 U.S. 58 (1989)).
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illness and, as a result, Jamison shot and killed Dorough without justification. See

doc. 20 at 6. Thus, Gardner’s ADA claim is based on alleged violations of the

Fourteenth and Fourth Amendment.                 See U.S. Const. amends. IV; XIV, § 1.

Therefore, because Title II validly abrogates state sovereign immunity for alleged

constitutional violations, the Sheriff has not shown that the claim is barred by the

Eleventh Amendment.

       Finally, state agencies that receive federal funds waive their Eleventh

Amendment immunity for § 504 claims.                     Garrett v. Univ. of Alabama at

Birmingham Bd. of Trustees, 344 F.3d 1288, 1293 (11th Cir. 2003) (per curiam).

Here, Gardner alleges that the Sheriff “receives federal funds for his law

enforcement program,” doc. 20 at 6, and that allegation is entitled to a presumption

of truth at this stage in the case, see Hunt, 814 F.3d at 1221. Consequently, at this

juncture, the § 504 claim is also not due to be dismissed based on Eleventh

Amendment immunity.

       B.      Whether Gardner States Viable ADA and §504 Claims
       “Title II of the ADA prohibits a ‘public entity’ from discriminating against

‘a qualified individual with a disability’ on account of the individual’s disability.”

Bircoll v. Miami-Dade County, 480 F.3d 1072, 1081 (11th Cir. 2007) (quoting 42

U.S.C. § 12132).3 To state a claim under Title II of the ADA and § 504, a plaintiff

       3
          Similarly, § 504 provides that “[n]o otherwise qualified individual with a disability . . .
shall, solely by reason of his disability, be excluded from the participation in, be denied the
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must allege facts showing “(1) that he is a qualified individual with a disability;

(2) that he was either excluded from participating in or denied the benefits of a

public entity’s services, programs, or activities, or was otherwise discriminated

against by the public entity; and (3) that the exclusion, denial of benefit, or

discrimination was by reason of the plaintiff’s disability.” Bircoll, 480 F.3d at

1083. See also Ellis v. England, 432 F.3d 1321, 1326 (11th Cir. 2005) (listing the

elements of a claim under the Rehabilitation Act); Cash v. Smith, 231 F.3d 1301,

1305, n.2 (11th Cir. 2000) (“Cases decided under the Rehabilitation Act are

precedent for cases under the ADA, and vice-versa.”) (citation omitted).                    In

addition, “[t]o state a claim for compensatory damages under [the ADA and

§ 504], a private plaintiff must show that the defendant acted ‘with discriminatory

intent.’” Boynton v. City of Tallahassee, 650 F. App’x 654, 658 (11th Cir. 2016)

(quoting McCullum v. Orlando Reg. Healthcare Sys., Inc., 768 F.3d 1135, 1146-47

(11th Cir. 2014)). 4 To show such intent, a plaintiff must allege facts showing “the

defendant either intentionally discriminated against the plaintiff or was

‘deliberately indifferent to his statutory rights.’” Id. (quoting McCullum, 768 F.3d

at 1147). Deliberate indifference requires “that the defendant ‘knew that harm to a


benefits of, or be subject to discrimination under any program or activity receiving Federal
financial assistance.” 29 U.S.C. § 794(a).
       4
        Gardner seeks both compensatory and punitive damages, doc. 20 at 7, but “punitive
damages are not available in private suits under [the ADA or the Rehabilitation Act.]” Boynton,
650 F. App’x at 658 n.4 (citing Barnes v. Gorman, 536 U.S. 181, 189 (2002)).
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federally protected right was substantially likely’ and ‘failed to act on that

likelihood.’” McCullum, 768 F.3d at 1147 (quoting Liese v. Indian River Cnty.

Hosp. Dist., 701 F.3d 334, 344 (11th Cir. 2012)).

      Turning to the specifics here, Gardner alleges that the Sheriff violated Title

II and § 504 by failing to train deputies to respond to people with mental illnesses

despite knowing of the need for such training. Doc. 20 at 4, 6. A sheriff may be

liable for a failure to train deputies “when ‘the failure to train amounts to deliberate

indifference to the rights of persons with whom the [deputies] come into contact.’”

Knight Through Kerr v. Miami-Dade County, 856 F.3d 795, 820 (11th Cir. 2017)

(quoting City of Canton, Ohio v. Harris, 489 U.S. 378, 388 (1989)). “To establish

‘deliberate indifference, a plaintiff must present some evidence that the [sheriff]

knew of a need to train . . . in a particular area and the [sheriff] made a deliberate

choice not to take any action.’” Id. (quoting Gold v. City of Miami, 151 F.3d 1346,

1350 (11th Cir. 1998)). Here, however, Gardner has not alleged sufficient facts to

give rise to a plausible inference that the Sheriff knew of a need to train deputies

regarding how to respond to people with mental illnesses and deliberately chose

not to do so. See doc. 20. Instead, Gardner simply alleges that the Sheriff “failed

and refused to train his deputies regarding handling mentally ill persons despite

knowledge of a need for such training.” Id. at 4. Because such conclusory

allegations are not entitled to a presumption of truth, see Iqbal, 556 U.S. at 681,


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Gardner does not plausibly allege that the Sheriff acted with deliberate indifference

in failing to train the deputies, and her Title II and § 504 claims based on the

alleged failure to train are due to be dismissed.

      Still, Gardner asserts that her Title II and § 504 claims should survive

because she plausibly alleges that Jamison failed to accommodate Dorough’s

disability and that the Sheriff is vicariously liable for Jamison’s actions. Doc. 9 at

7-9. Gardner correctly notes that the ADA and §504 provides for “respondeat

superior liability of the employer for the acts of its agents.” Mason v. Stalling, 82

F.3d 1007, 1009 (11th Cir. 1996)). See also T.W. ex rel Wilson v. School Bd. of

Seminole County, Fla., 610 F.3d 588, 604 (11th Cir. 2010) (assuming without

deciding that § 504, like the ADA, allows an employer to be vicariously liable for

an employee’s actions). In this case, however, the alleged failure to accommodate

stems directly from the Sheriff’s alleged failure to train the deputies. See doc. 20

at 4 (“If Jamison and the other deputy had received [adequate] training, the

shooting of Dorough was easily avoided. . . . Because the deputies were not

trained in handling mentally ill persons, the deputies failed to accommodate

Dorough.”). Accordingly, Gardner’s claims against the Sheriff based on vicarious

liability for Jamison’s alleged actions are, in essence, duplicative of her claims

based on the Sherriff’s alleged failure to train. In addition, Gardner did not allege

facts to suggest that Jamison intentionally discriminated against Dorough based on


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his disability, or that Jamison was deliberately indifferent to Dorough’s rights

under the ADA and § 504. Rather, Gardner expressly alleges that Jamison failed

to accommodate Dorough because Jamison was “not trained in handling mentally

ill persons . . . .” Doc. 20 at 4. Consequently, Gardner has not plausibly alleged

that Jamison acted with discriminatory intent, see McCullum, 768 F.3d at 1147,

and she failed to state plausible Title II and § 504 claims against the Sheriff based

on Jamison’s alleged actions. 5

IV.    CONCLUSION AND ORDER

       For the foregoing reasons, the Sheriff’s motion to dismiss, doc. 5, is

GRANTED, and Gardner’s claims against Sheriff Jon Samaniego are

DISMISSED WITHOUT PREJUDICE.

       Finally, the court ORDERS Gardner to perfect service on Jamison by May

31, 2019.

       DONE the 17th day of May, 2019.


                                              _________________________________
                                                       ABDUL K. KALLON
                                                UNITED STATES DISTRICT JUDGE




       5
          Gardner reliance on Bircoll v. Miami-Dade County, 480 F.3d 1072 (11th Cir. 2007), to
argue against dismissal of her Title II and § 504 claims, see doc. 9 at 7-8, is unavailing. Bircoll
did not involve any allegations that the County or Sheriff may be liable based on a failure to train
deputies. See 480 F.3d 1072. In addition, Bircoll does not address the deliberate indifference
standard that applies to claims for compensatory damages under Title II and § 504. See id.
                                                10
